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                        UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF MICHIGAN
                             SOUTHERN DIVISION

UNITED STATES OF AMERICA,,

        Plaintiff,

v.                                                    Case No. 91-80936

BRETT LANG,                                           Honorable Patrick J. Duggan

        Defendant.
                                       /

                  ORDER GRANTING MOTION TO TERMINATE
                          SUPERVISED RELEASE

                        At a session of said Court, held in the U.S.
                          District Courthouse, Eastern District
                            of Michigan, on January 21, 2011.

        PRESENT:           THE HONORABLE PATRICK J. DUGGAN
                           U.S. DISTRICT COURT JUDGE

     Presently before the Court is Defendant Brett Lang’s motion to terminate his period of

supervised release. The Court is advised that neither the government nor the Probation

Officer, Melissa Hughes, has any objection to the Court granting this motion.

     Therefore,

     IT IS ORDERED that Defendant Brett Lang’s motion to terminate the period of

supervised release is GRANTED.

                                           s/PATRICK J. DUGGAN
                                           UNITED STATES DISTRICT JUDGE

Copies to:
Robyn B. Frankel
Wayne Pratt, AUSA
Melissa Hughes, USPO
